        Case 1:17-cv-01216-ABJ Document 88 Filed 01/25/21 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


SHAY HORSE, et al.,

                    Plaintiffs,

v.                                               Civil Action No. 17-1216 (ABJ)

DISTRICT OF COLUMBIA, et al.,

                    Defendants.


                             JOINT STATUS REPORT

      Pursuant to the Court’s December 15, 2020 Minute Order, the Parties submit

this Joint Status Report.

      The Parties have agreed upon terms to settle this case, subject to Mayoral

approval. The Parties have agreed on the final language of the settlement agreement.

      The Parties, however, have sharply conflicting expectations regarding what

should happen next. The position of all defendants other than John Doe is that the

Court should extend the stay of the case until March 25, 2021, to allow additional

time for Mayoral consideration and approval of the proposed settlement. Defendant

John Doe defers to the Court on the issue of a stay given that the Mayor must approve

the settlement. No other existing deadline will be affected by an additional stay.

      Plaintiffs, by contrast, think that given the Parties’ agreement on terms (prior

to December 14, 2020, as reflected in the parties’ previous Joint Status Report, ECF

87, which nowhere suggested that further “Mayoral approval” was required) and final

language (as of December 21, 2020), there is nothing left to do but for the defendants
           Case 1:17-cv-01216-ABJ Document 88 Filed 01/25/21 Page 2 of 3




to sign the agreement (Plaintiffs and Defendant John Doe already having signed) and

no reason for further delay. Therefore, it is Plaintiffs’ position that there is no purpose

in extending the stay for 60 days. Plaintiffs believe that the Court should discharge

the mediators with the Court’s thanks and schedule a hearing at the Court’s earliest

convenience to determine whether the District will be signing the agreement or, if

need be, to schedule next steps in the litigation, including the renewal of Plaintiffs’

motion to file on the public docket their motion to amend their complaint, revealing

the name of Defendant John Doe (which was, by Minute Order of Nov. 7, 2019, denied

“without prejudice to reconsideration, if the case is still pending at the close of

mediation”). Plaintiffs will be filing, later today, an unopposed motion seeking such a

hearing.

Dated: January 25, 2021.                         Respectfully submitted,

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Case 1:17-cv-01216-ABJ Document 88 Filed 01/25/21 Page 3 of 3




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